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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF DELAWARE
LEADING TECHNOLOGY COMPOSITES,              )
INC.,                                       )
                                            )
              Plaintiff,                    ) C.A. No. ____________
v.                                          )
                                            ) JURY TRIAL DEMANDED
                                            )
MV2, LLC,
                                            )
                                            )
              Defendant.                    )
                                            )
                                            )

                     LEADING TECHNOLOGY COMPOSITES, INC.’S
                       CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Leading Technology

Composites, Inc. states as follows:   Leading Technology Composites is a wholly-owned,

privately-held corporation.



Dated: April 12, 2019                        Respectfully submitted,

Of Counsel:                                  FARNAN LLP

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